Case 1:19-bk-10189   Doc 16-2 Filed 03/15/19 Entered 03/15/19 18:23:27   Desc
                          Exhibit A-Note Page 1 of 4
                            Exhibit A
Case 1:19-bk-10189   Doc 16-2 Filed 03/15/19 Entered 03/15/19 18:23:27   Desc
                          Exhibit A-Note Page 2 of 4
Case 1:19-bk-10189   Doc 16-2 Filed 03/15/19 Entered 03/15/19 18:23:27   Desc
                          Exhibit A-Note Page 3 of 4
Case 1:19-bk-10189   Doc 16-2 Filed 03/15/19 Entered 03/15/19 18:23:27   Desc
                          Exhibit A-Note Page 4 of 4
